     '·      Case 8:21-cv-00142-PX Document 2 Filed 01/15/21 Page 1 of 14
     c:
IN J\1ARYLAND:
     :;~::
                           THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY
     ~::-::·



MARCUS FORBES                                                      )
Private Individual                                                 )
POBox230                                                           )
Brandywine, MD 20613                                           )
                                                                   )   Civil Case No. {
                                                                                          1
                                                                                          /}f.dJ-0- / )         q g/
                              Plaintiff,                           )
                                                                   )
Vs                                                                 )
                                                                   )
Kendra Ross (Daughter)                                             )
Private Individual                                                 )
782 Saxon Court                                                    )
Charlottesville, VA 22901                                          )
Ward of:                                                           )
Gillian Chadwick                                                   )
Washburn University School of Law        )                                                                            .·,:,
1700 SW College Avenue                                             )
                                                                                                       C,;.
Topeka, KS 66621                                                   )                                   0
                                                                                                                  \_,-;

and                                                                )
MCGUIREWOODS LLP                                                   )
Elizabeth A. Hutson, Jonathan T. Blank )                                                           1-..::.

Katlyn Farrell, Benjamin P. Abe              )
2001 K Street NW, Suite 400              )
Washington, DC 20006                                               )
As her residence is under protection     )
the above is being served on her behalf.   )
                                                                   )
Cheryl Ross (Mother)                                       )
Private Individual                                                 )
3547 Spottswood Ave.                                               )                              ,iffl ~ f i~~~i !,FHi:
Memphis, TN 3 8111                                     )                                          ~i   fF -- ?~J: ~   t,:~s       :~LT:1~
                                                                                                                              i ?~:~ . ~~~i
                                                                   )
                             Defendant(s)                          )




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     I •
    .1·:                                     COMPLAINT

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    ,...·            BREACH OF CONTRACT AND MEMORANDUM OF AGREEMENT
                                      BY DEFENDANTS
                           DEFAMATION, LIBEL, SLANDER, OR SIMILAR

        Memorandum of Agreement under a contract and Legal Definition. A Memorandum of Agreement
("MOA''), also known as a memorandum of understanding, is a formal business document used to outline an
                          agreement made between two separate entities, groups or individuals.
                                                            FOUNDATION
             I, Marcus "last name offorbes "being a private individual and a member of the Community known
as the United Nation oflslam at one time, member of the Value Creators at one time and member of the
Promise Keepers set forth this claim of injury caused by Kendra Ross in her capacity as a private individual
and her birth parent (Mother), Cheryl Ross in her capacity as a private individual.
             Under the agreed contract of each individual of the community that when anyone became a member
of, they were informed of the guidelines and terms of the existing conditions to live in the community
(Whether in a Fulltime or Part Time capacity). Those who choose to stay and live in the community agreed
to the terms of the contract, if you refuse to live by the terms of the contract then you were free to leave.
             Today you have similar in Housing Association volunteer services for State and Federal Agencies.
             Agenda 21 is one of several global plans of action designed to create a coalition of government,
business, and non-governmental organizations (NGO's) under the auspices of the United Nations. When
fully operational, this system of Global Governance, will command a One World Court, a One World Army,
a One World Media, etc. all working in lockstep to gain total control over all human activjty and all the
Earth's wealth.
             Below, are fonner living and work agreements made by those who choose to work and live within
these communities in the United States and these communities were not called a "cult." From the 1900s up
until the early 1950's many workers/employees, especially those in the mining and logging industry were
paid in a form of currency issued by their employer known as company script.
                                                       Example similar agreement

Company script: is script (a substitute for government-issued legal tender or currency)

Lumber company script in Wisconsin, for example, forest-products and lumber companies were specifically
exempted from the state law requiring employers to pay workers' wages in cash. Lumber and timber
companies frequently paid their workers in script, which was redeemable at the company store. Company-
run stores served as a convenience for workers and their families, but also allowed the companies to
recapture some of their labor expenses. In certain cases, employers included contract provisions requiring

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employees to patronize the company stores. Employees who wanted to change their script to cash generally
    ~-·   :·,

hacGp do so at a discount.
    r··:·;
    , • f




 Coal script is "tokens or paper with a monetary value issued to workers as an advance on wages by the coal
company or its designated representative". As such, coal script could only be used at the specific locality
or coal town of the company named. Because coal script was used in the context of a coal town, where there
are usually no other retail establishments in that specific remote location, employees who used this could
only redeem their value at that specific location




Gamification describes the incentivization of people's engagement in non-game contexts and activities by
using game-style mechanics. Gamification leverages people's natural tendencies for competition,
achievement, collaboration, and charity. Tools employed in game design, such as rewarding users for
achievements, "leveling-up," and earning badges, are carried into the real world to help motivate individuals
to achieve their goals or boost performance.

There are many examples of gamification, the most well-known perhaps being :frequent flyer rewards
programs offered by airlines. The important measurable metrics of success from gamification include the
level of engagement, influence, brand loyalty, time spent on an activity, and the game's ability to go viral.

Homeowners' Association Sample Rules A written contract of a group of property owners, typically
condominium owners, describing their joint ownership obligations and rights. The association agreement
usually allows members to approve new owners before a sale and gives the right to charge each resident for
agreed upon building operating expenses.


In the United States, a homeowner association (or homeowners' association, abbreviated HOA, sometimes
referred to as a property owners' association or POA) is a private association often formed by a real estate
developer for the purpose of marketing, managing, and selling homes and lots in a residential subdivision.
Typically, the developer will transfer control of the association to the homeowners after selling a
predetermined number oflots. Generally any person who wants to buy a residence within the area of a
homeowners association must become a member, and therefore must obey the governing documents
including Articles of Incorporation, CC&Rs (Covenants, Conditions and Restrictions) and By-Laws, which
may limit the owners.




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A c_qoperative agreement is a legal agreement between the federal governmem and any other entity. A
coo~~rative agreement occurs when the federal government transfers something of value, usually money, to
    ['.'•
a st~te government, municipality or private company for a public purpose. In a cooperative agreement,
substantial interaction goes on between the federal government and the other party.


                                    31 U.S. Code § 6305. Using cooperative agreements

An executive agency shall use a cooperative agreement as the legal instrument reflecting a relationship
between the United States Government and a State, a local government, or other recipient when-
(1) the principal purpose of the relationship is to transfer a thing of value to the State, local government,
or other recipient to carry out a public purpose of support or stimulation authorized by a law of the
United States instead of acquiring (by purchase, lease, or barter) property or services for the direct benefit or
use of the United States Government; and
(2) substantial involvement is expected between the executive agency and the State, local government,
or other recipient when carrying out the activity contemplated in the agreement.




                                        LEGAL DEFINITION OF A VOLUNTEER


29 CFR § 553.101 - "Volunteer" defined.
(a) An individual who performs hours of service for a public agency for civic, charitable, or humanitarian
reasons, without promise, expectation or receipt of compensation for services rendered, is considered to be a
volunteer during such hours. Individuals performing hours of service for such a public agency will be
considered volunteers for the time so spent and not subject to sections 6, 7, and 11 of the FLSA when such
hours of service are performed in accord with sections 3(e)(4) (A) and (B) of the FLSA and the guidelines in
this subpart.

(b) Congress did not intend to discourage or impede volunteer activities undertaken for civic, charitable, or
humanitarian purposes, but expressed its wish to prevent any manipulation or abuse of minimum wage or
overtime requirements through coercion or undue pressure upon individuals to "volunteer" their services.

(c) Individuals shall be considered volunteers only where their services are offered freely and without
pressure or coercion, direct or implied, from an employer.

(d) An individual shall not be considered a volunteer if the individual is otherwise employed by the
same public agency to perform the same type of services as those for which the individual proposes to
volunteer.

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29    d~R § 553.100 General.
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Seot~pn 3(e) of the Fair Labor Standards Act, as amended in 1985, provides that individuals performing
volunteer services for units of State and local governments will not be regarded as "employees" under the
statute. The purpose of this subpart is to define the circumstances under which individuals may perform
hours of volunteer service for units of State and local governments without being considered to be their
employees during such hours for purposes of the FLSA.



                                         THE MEMORANDUM OF AGREEMENT

               When Cheryl Ross and her minor children Kendra Ross (and others) came to the community known
as the United Nation oflslam in the year of 1995 when it was under the control of Royall "last name of
Jenk:ins", Cheryl Ross had to go through a training course to ensure she was aware of what she was agreeing
to.
               The Contract Agreement, if Cheryl Ross agreed to be in a Full Time status and work within the
community she would receive the following for herself and her children: housing, medical, food, clothing
and schooling for her children including her Daughter Kendra Ross. They also received training for job
skills in other communities that could be located in other States if they choose to be part of the community.
               This agreement was violated once Kendra Ross became the age of majority (18 years of age) and
decided to leave the community; this is the identical contract that Cheryl Ross agreed to when Kendra Ross
was still a minor under the jurisdiction and control of her mother.
               Additionally, Kendra Ross returned back to the community of the United Nation oflslam once she
was oflegal age, of her own free will and married a Brother (a member named Nigel) within the
community. After which Kendra Ross again decided to leave and return to the outside system outside of the
community. This is called free will.
               A brief history of the United Nation of Islam under the guidance of Royall "last name of jenk:ins" at
the time Kendra Ross was a minor which is when all of her alleged claims have occurred against this
community.
               Since 2010-2012 the United Nation oflslam has gone through troubled waters of being hi-jacked by
members who indentified the cash value of this community. This community was taken over, and then left
to perish until, the original members returned to reclaim what remained after the pillaging of the UNOI.
               Kendra Ross' actions in 2017 were long after being out of the community (UNOI) however, she was
still under the memorandum of agreement/contract to which she has received the benefits of while as a
minor under Mother Cheryl Ross' jurisdiction.


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     }, Kendra Ross was never a member of the Value Creators or that of the .t'romise Keepers. But by her
acfr61 of claiming human trafficking and labor claims against the United Nation oflslam is a contract
     i'"'!

viol~tion to the agreement of being a member.
                The same memorandum of agreement/contract are the same with the Value Creators and Promise
Keepers.
                The suit against the communities/people has caused irreparable damage against these communities/
people.
                The people of these communities have loss the right to work in the community, schooling, medical
treatment from the community, food, housing and etc.


                                                       INTRODUCTION
      1. Defamation, Libel and Slander remains a shockingly prevalent practice throughout the world and it
                has become an epidemic in the United States.
                a. False accusations circulate worldwide with blinding speed through internet social media via all
                   types of electronic devices: TV's, phones, tablets etc which causes a person or their business
                    entities to lose public trust in them and/or their products and services.
                b. Slander victimizes vulnerable persons by defrauding and forcing them to close businesses,
                   change names, relocate, lose sales and gainful employment.
     2. I, Marcus "last name forbes" the plaintiff knows this first hand.
                a. From 1999 until it's unauthorized decommission on December 31st, 2012 (executed by the
                   criminal activities of UNOI Officers Akiba and Kaaba Majeed, Henry Munoz, Yunus Rassoull
                   and Attorney Wayman W. Favors) I accepted membership with the organization named the
                   United Nation oflslam with the understanding that any goods, services or time invested that
                   were rendered from my fleshly being would be donated (whether monetary or physical goods) on
                   a volunteer basis.
     3. As Defendant(s) Kendra and Cheryl Ross (Mother and Daughter) were and are completely aware of
                the fact that there were clear steps and information for every potential member;
                a. this procedure was called "processing" in the United Nation of Islam which generally consisted
                   of attending three public meetings and,
                b. then being asked if you'd like to move forward with orientation classes.
                c. The processing member then wrote a savior's letter (a written contract/agreement) which was the
                   standard for all UNOI Members that were of the age of majority (18 years) and,
                d. then in tum mailed it to UNOI HQ's for approval.
                   •   A sample of this UNOI contract/agreement is enclosed and labeled as 'Evidence A' (Exhibit
                       A].
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    :;;:.:'.:
    '.;::::     As stated in Kendra Ross' claim which falsified the fact as to how she was coerced and intentionally
sepWated from her family and friends at a young age. I am stating that Cheryl Ross (Kendra's Mother) was
in agreement, fully aware and gave permission for Kendra and her other children to participate in the
community run business activities in Kansas, Ohio and Georgia

                I am stating Kendra Ross decided to leave The United Nation oflslam at the age of 20. She was an
adult aware and capable of making her own decisions. She left the community of her own free will.

                In 2013 Kendra Ross lived with me in my home in Burke, VA with my family in which none ofus at
that time were a part of any organization.

                In 2013 The Organization called the United Nation oflslam was no longer in operation or
functional. All prior members left to pursue other ventures. Many utilized their skills learned in the (UNOI)
to start their own businesses and other organizations.

                During this time frame our family (including Kendra) had many interactions such as birthday parties
for her nieces and Nephews (my children) and dinner engagements. There was no United Nation oflslam.

                In 2015 a member from the UNOI started a group called The Value Creators.

                Kendra Ross was not a member of this organization called The Value Creators however, her mother
Cheryl Ross did participate in The Value Creators.

    Kendra Ross was aware of her mothers participation with The Value Creators and chose to live with her
mother Cheryl Ross in Burke, VA where Kendra worked and hung out with friends from her jobs.

        In 2016 Kendra Ross was put out of her mothers' home due to her reckless behavior and disrespectful
attitude.

        Cheryl Ross called my wife and I to state these facts in which Kendra Ross was not a part of any group
named above as stated in her legal claim against the Value Creators and Royall Jenkins.

    During 2017 Kendra Ross lived with her friends and continued to work at different food service
businesses such as Chipotle and Cafe Rio.

    During this time Kendra Ross had no dealings with The UNOI or The Value Creators in any capacity.

    Kendra Ross was very naive and easily influenced in her thoughts and activity.

                In 2015 she left to participate with a church organization who I believe influenced her thoughts to
manipulate her into suing Royall Jenkins, the UNOI and the Value Creators.

                She stopped communicating with her family and was afraid to give out her location and phone
number.
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    :a.       She seemed very unhappy and depressed and told us this anonymous group was also helping her by
     ;~i~;    giving her medications to help her condition.
     f'i°l
     ,:J?.J   Kendra Ross stopped communicating with her family at that point, she became less sociable and was
              missing in action for several years.
      c.      The next thing I knew, she was suing the United Nation oflslam, the Value Creators and Royall
              Jenkins.



     4. As President George Washington stated; "To speak evil of any one, unless there is unequivocal
              proofs of their deserving it, is an injury for which there is no adequate reparation."
              a. Fortunately, the state and federal laws prohibit this contemptible practice such as 2017 KANSAS
                 Statute Article 24. - REGULATION OF CERTAIN TRADE PRACTICES 40-2404. Unfair
                 methods of competition or unfair and deceptive acts or practices; title insurance agents,
                 requirements; disclosure of nonpublic personal information; rules and regulations.
                 (2) False information and advertising generally. Making, publishing, disseminating, circulating
                 or placing before the public, or causing, directly or indirectly, to be made, published,
                 disseminated, circulated or placed before the public, in a newspaper, magazine or other
                 publication, or in the form of a notice, circular, pamphlet, letter or poster, or over any radio or
                 television station, or in any other way, an advertisement, announcement or statement containing
                 any assertion, misrepresentation or statement with respect to the business of insurance or with
                 respect to any person in the conduct of such person's insurance business, that is untrue, deceptive
                 or misleading.
                 (3) Defamation. Making, publishing, disseminating or circulating, directly or indirectly, or
                 aiding, abetting or encouraging the making, publishing, disseminating or circulating of any oral
                 or written statement or any pamphlet, circular, article or literature that is false, or maliciously
                 critical of or derogatory to the financial condition of any person, and that is calculated to injure
                 such person.


              b. Along with federal law 28 U.S. Code§ 4101. Definitions: The tem1 "defamation" means any
                 action or other proceeding for defamation, libel, slander, or similar claim alleging that forms of
                 speech are false, have caused damage to reputation or emotional distress, have presented any
                 person in a false light, or have resulted in criticism, dishonor, or condemnation of any person.
                 To sustain a defamation claim, Maryland law requires a showing that: "(1) the defendant made a
                 defamatory communication to a third person; (2) that the statement was false; (3) that the
                 defendant was at fault in communicating the statement; and (4) that the plaintiff suffered

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                  hann." Samuels v. Tscnechtelin, 763 A.2d 209, 241-42 (Md. Ct. i::,pec. App. 2000). Kairys v.
                  Douglas Stereo Inc. 83 Md. App. 667 (1990) 577 A.2d 386.
     f""•,
     (~; I, Marcus "last name forbes" boldly and bravely return to this jurisdiction - the epicenter of Kendra
              Ross' s initial breach of contract and DEFAMATION and SLANDEREROUS deception - and bring
              this action to enforce anti-breach of contract and defamation under federal and state laws.
      6. Kendra Ross' statements falsely claimed against our community was associated with the following
              violations that Judge Daniel D. Crabtree clearly listed on March 3rd , 2020 Docket Entry #266 in his
              MEMORANDUM AND ORDER under section I. Background:
     "On September 15, 2017, plaintiff Kendra Ross filed a Complaint against Royall Jenkins,
     The Value Creators, Inc. (f/k/a The United Nation oflslam, Inc.), The Value Creators LLC, and
     The Value Creators, Inc. Doc. 1. The Complaint asserts 16 federal and state law claims.2 The
     federal claims include violations of the Trafficking Victims Protection Reauthorization Act
     ("TVPRA"), 18 U.S.C. §§ 1589, 1590, and 1595, for human trafficking and forced labor; the Fair
     Labor Standards Act ("FLSA"), 29 U.S.C. §§ 201-219, for unpaid wages; and the Racketeer
     Influenced and Corrupt Organizations Act ("RICO"), 18 U.S.C. § 1961. Three groups of claims
     comprise the state law claims: (1) violations of human trafficking laws; (2) violations of
     minimum wage laws; and (3) violations of Kansas tort and quasi-contract law. Plaintiff asserted
     that defendants have violated Kansas, New York, New Jersey, and Ohio human trafficking laws.
     Plaintiff also claimed that defendants have violated minimum wages laws for those same states. Finally,
     plaintiff alleged that defendants have violated Kansas laws for conversion, unjust enrichment, and both
     intentional and negligent infliction of emotional distress. On May 23, 2018, the court entered default
    judgment against defendants Royall Jenkins, The Value Creators, Inc. f/k/a The United Nation of Islam,
     Inc., The Value Creators LLC, and The Value Creators, Inc (the "Judgment Debtors"). See Doc. 41."


     7. KENDRA ROSS and CHERYL ROSS both knew after at least 15 years of participation and
              membership with the UNOI that all of the abovementioned statement is false and a complete breach
              of contract.


                   I BEING A PLAINTIFF IN THIS ACTION HAS LOST THE FOLLOWING:
                                                       DAMAGES:
     1. Lost businesses in Baltimore, MD, New Haven, CT, Chicago, IL, Kansas City, KS and Atlanta, GA
              which consisted of restaurants/catering, bakery, trucking, construction and food product wholesaling.
    2. Loss ofmy home located in Fort Washington, MD due to loss of income and the inability to provide
              for my family.

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    ·p. Emotional distress and trauma due to the uprooting ofmy growing young family and unstable
    ;!;~;i environment due to the lies & false slanderous accusations from Kendra Ross.
    1.. -.

    )1.;
    ., ~·· Loss of Bank Accounts: Bank of America shutdown our business accounts and funds were frozen
             and seized from the Value Creators.
     5. Wells Fargo froze our business accounts of the Value Creators.
     6. Lost revenue and potential revenue from Royall's Finest Coffee due to the slanderous statements
             made by Kendra Ross in her filing of August 17th, 2017 "VERIFIED COMPLAINT" in the
             UNITED STATES DISTRICT COURT- a product sample is enclosed and labeled as 'Evidence B'
             [Exhibit BJ.
     7. Lost revenue and potential revenue from Royall Essence tea beverage due to the slanderous
        statements made by Kendra Ross in her filing of August 17th, 2017 "VERIFIED COMPLAINT" in
             the UNITED STATES DISTRICT COURT- a product sample is enclosed and labeled as 'Evidence
             C' [Exhibit C].
     8. Lost revenue and potential revenue from Royall Dressing salad dressing due to the slanderous
        statements made by Kendra Ross in her filing of August 17th , 2017 "VERIFIED COMPLAINT" in
             the UNITED STATES DISTRICT COURT- a product sample is enclosed and labeled as 'Evidence
             D' [Exhibit DJ.
     9. Lost revenue and potential revenue from the Royall Touch eatery located in Kansas City, KS due to
             the slanderous statements made by Kendra Ross in her filing on August 17th , 2017 "VERIFIED
             COMPLAINT" in the UNITED STATES DISTRICT COURT- business documents are enclosed
             and labeled as 'Evidence E' [Exhibit EJ.
     I 0. Lost revenue and potential revenue from the Royall Touch cafeteria/catering business in Baltimore,
             MD due to the slanderous statements made by Kendra Ross in her filing on August 17th, 2017
             "VERIFIED COMPLAINT" in the UNITED STATES DISTRICT COURT- business documents
             are enclosed and labeled as 'Evidence F' [Exhibit FJ.




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     I' ...,
     .        !
                                                           CONCLUSION
Cheryl Ross had sole power, authority and jurisdiction over Kendra Ross during the time frames when the
fraudulent human trafficking and labor claim against Royall "last name of jenkins" / United Nation of Islam
was made against all three of these communities. Cheryl and Kendra Ross both knew that members of the
United Nation oflslam DID NOT receive any fonn of payment as established in "Title 18 U.S. Code § 8
.Obligation or other security of the United States defined":
                  The tenn "obligation or other security of the United States" includes all bonds, certificates of
                  indebtedness, national bank currency, Federal Reserve notes, Federal Reserve bank notes, coupons,
                  United States notes, Treasury notes, gold certificates, silver certificates, fractional notes, certificates
                  of deposit, bills, checks, or drafts for money, drawn by or upon authorized officers of the United
                  States, stamps and other representatives of value, of whatever denomination, issued under any Act of
                  Congress, and canceled United States stamps.
In the simplest of terms; Cheryl and Kendra Ross both knew and understood that "Full Time" members of
the United Nation oflslam received: FOOD, CLOTHING, SHELTER, EDUCATION,
COMMUNICATION, MEDICAL and TRANSPORTATION in an organized and systematic fashion in
EXCHANGE for the VOLUNTEER services that were rendered from each mentally competent and able
bodied fleshly being (member) in the United Nation of Islam. There were no tricks or ploys in this
contractual agreement and this was known and clear, upfront.


As a result of the Defendants' conduct, I, Marcus "last name forbes" has suffered significant emotional pain
and suffering, for which I should be compensated in the amount of$1,740,000, or any other amount to be
determined at trial.
WHEREFORE, I, Marcus "last name forbes" respectfully requests that this Court enter judgment against the
Defendants on the damages listed above and award me at least $1,740,000, plus pre-judgment interest and
all attorney's fees incurred in prosecuting this action.


                                                       JURY TRIAL DEMAND
I, Marcus "last name forbes" hereby demand a jury trial on all issues so triable.
                                                       PRAYER FOR RELIEF
WHEREFORE, I, Marcus "last name forbes" the Plaintiff respectfully demand judgment in my favor and
against Defendants Cheryl Ross and Kendra Ross as follows:


                  (1) Compensatory and special damages in an amount to be proven at trial;
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    J,,, (2) Lost wages, including in1,;ome from business product investments causing product name changes,
    .;~:::
    ?: lost bank account, credit damage, evictions, vehicle repossession and business's closed in an amount
    ;/: to be proven at trial;
              (3) Statutory penalties and liquidated damages according to proof at time of trial;
              (4) Punitive and exemplary damages in an amount according to proof at the time of
              trial;
              (5) Reasonable attorney's fees and costs; and
              (6) Such other and further relief as the Court deems just and proper.
              (7) Upon a default judgement that the plaintiff demands $1,740,000.00 plus attorney fees and
additional amounts that the court deems fair and just.




Respectfully submitted,


 ---i//i1-.,.-..
---.=....,c.=-i-=r--:~==-----------Date 9/10/2020
M arcu~ "last n •e of forbes"
Private Individual
PO Box 230
Brandywine, MD 20613




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     f'(i
                                                           AFFIDAVIT OF FACT


I, Marcus "last name forbes", am the plaintiff in the above-captioned action. I am and have been a resident
and Citizen of one of the states for the united states since my birth. I am thirty (39) years of age and am of
sound mind and body to make this affidavit of fact. I have read the foregoing Complaint and fully
understand the factual allegations, and also understand the legal claims I am asserting in this action. I verify
under penalty of perjury that the entire foregoing claim is true and correct to the best ofmy ability.




_{Y/_~·,f~~--------- Date: SeptembJ~20
AFFIANT SIGNATURE:




Marcus Jermaine Forbes.            /Y/. a. rcus        Te. t'w'\.G.hlf,-e_   ,,Fc.....6es
PRINTED FULL LEGAL NAME:




                                                                                            SEAL:
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NOTARY PRINTED FULL LEGAL NAME:


Acknowledgement:


STATE OF Maryland               / ' COUNTY OF PRINCE GEORGES                         /


The foregoing instrument was acknowledged before me this~y of September, 2020 by Marcus Forbes.
who is personally known to me or who has produced a valid state government identification card.



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     ("·':,             Case 8:21-cv-00142-PX Document 2 Filed 01/15/21 Page 14 of 14
     J.:.                               CERTIFICATE OF SERVICE

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     '..I;    I, Marcus "last name of forbes" come before the clerk of court of ( · <1r-/~'..J/Lf.,/       in the

county of Prince Georges County in the year of Lord 2020 AD in the month September of and on this day of

10th will be served by process.


MARCUS FORBES
Private Individual
PO Box230
Brandywine, MD 20613


Cc

Cheryl Ross: Mother
Private Individual
Address

Kendra Ross: Daughter
Private Individual
Address in c/o:

Gillian Chadwick
Washburn University School of Law
1700 SW College Avenue
Topeka, KS 66621
and
MCGUIREWOODS LLP
Elizabeth A. Hutson, Jonathan T. Blank, Katlyn Farrell, Benjamin P. Abel
2001 K Street NW, Suite 400
Washington, DC 20006
As her residence is under protection the above is being served on her behalf.




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BreachofContractM.Forbesvs.K, RossC.Ross-9 /10 /2020
